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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN

GEORGINA WILLIAMS,
                                           Case No. 2:18-cv-11613
             Plaintiff,
                                           Oakland County Circuit Court Case
v                                          No. 18-165415-NO

OUTBACK STEAKHOUSE OF
FLORIDA, LLC,

             Defendant.

STEVEN A. LEE (P77013)                   DAVID J. YATES (P49405)
CHRISTOPHER K. COOKE (P35034)            ERIC P. CONN (P64500)
NEUMANN LAW GROUP                        STEPHANIE B. BURNSTEIN (P78800)
Attorney for Plaintiff                   SEGAL McCAMBRIDGE SINGER &
300 E. Front Street, Ste. 445            MAHONEY
Traverse City, MI 49684                  Attorneys for Defendant
(231) 221-0050                           39475 Thirteen Mile Road, Suite 203
steve@neumannlawgroup.com                Novi, MI 48377
chris@neumannlawgroup.com                (248) 994-0060 (248) 994-0061 [Fax]
                                         dyates@smsm.com econn@smsm.com
                                         sburnstein@smsm.com

                           NOTICE OF REMOVAL

TO: United States District Court - Eastern District of Michigan
    Oakland County Circuit Court
    Counsel of Record

       NOW COMES Defendant, Outback Steakhouse of Florida, LLC, by and

through its attorneys, David J. Yates, Eric P. Conn, Stephanie B. Burnstein and

Segal McCambridge Singer & Mahoney and hereby remove this action and give

Notice to this Honorable Court of the Removal of this Action from the Circuit
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Court of the State of Michigan, County of Oakland, to the United States District

Court for the Eastern District of Michigan, and respectfully states under this Court

as follows:

      1.      That Outback Steakhouse of Florida, LLC, is a Defendant in a civil

action brought against it in the Circuit Court for the County of Oakland, State of

Michigan, entitled Georgina Williams v. Outback Steakhouse of Florida, LLC,

Case No. 18-165415-NO and that a copy of the Complaint is attached hereto and

constitute all process and pleadings served upon Petitioner in such action (Exhibit

A). No other proceedings have taken place in the Circuit Court for the County of

Oakland.

      2.      That the above captioned matter is a civil action over which this Court

has original jurisdiction on the provisions of Title 28 United States Code, USC

Section 1332, and is one which may be removed to this Court by the Petitioners,

Defendant herein, pursuant to the provisions of Title 28 United States Code,

Section 1441, that it is a civil action, wherein the matter in controversy will

allegedly exceed the sum or value of $75,000.00 exclusive of costs, attorney fees,

and statutory interest, according to the allegations in the Complaint and it is

between citizens of different states, as more fully identified as follows:

              a.    Defendant, Outback Steakhouse of Florida, LLC., is a Florida

                    corporation with its principle place of business in Florida;


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             b.     Plaintiff is a citizen of the State of California.

      3.     That in particularity based on the necessary implications of Plaintiff’s

Complaint, this matter in controversy allegedly exceeds the sum or value of

$75,000.00 exclusive of costs, attorney fees and statutory interest demanded in that

the Plaintiff seeks damages for personal injury arising out of injuries allegedly

incurred in a slip and fall accident dated February 19, 2017. Plaintiff has in her

complaint alleged injuries such as fracturing her right shoulder, injuring her right

elbow and right hip and suffering periods of disability, extreme pain, and mental

and emotional distress.

      4.     That this Petition is filed in a timely and proper manner in as much as

service of process upon Outback Steakhouse of Florida, LLC was made by

certified mail on May 4, 2018, and the original Petition for Removal was filed

within thirty (30) days thereof.

      5.     Attached as Exhibit B is a verification of the facts and circumstances

set forth in this demand for removal.

      THEREFORE, Defendant, Outback Steakhouse of Florida, LLC, gives

Notice that the above Action now pending against it in the Circuit Court for the

County of Oakland, State of Michigan, is removed therefrom to this Court.




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                                  SEGAL McCAMBRIDGE SINGER &
                                  MAHONEY


                                  By /s/ David J. Yates
                                    DAVID J. YATES (P49405)
                                    ERIC P. CONN (P64500)
                                    STEPHANIE B. BURNSTEIN (P78800)
                                    Attorneys for Defendant
                                    39475 Thirteen Mile Road, Suite 203
                                    Novi, MI 48377
                                    (248) 994-0060



Dated: May 22, 2018




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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN

GEORGINA WILLIAMS,
                                              Case No. 2:18-cv-11613
             Plaintiff,
                                              Oakland County Circuit Court Case
v                                             No. 18-165415-NO

OUTBACK STEAKHOUSE OF
FLORIDA, LLC,

             Defendant.

STEVEN A. LEE (P77013)                       DAVID J. YATES (P49405)
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NEUMANN LAW GROUP                            STEPHANIE B. BURNSTEIN (P78800)
Attorney for Plaintiff                       SEGAL McCAMBRIDGE SINGER &
300 E. Front Street, Ste. 445                MAHONEY
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chris@neumannlawgroup.com                    (248) 994-0060 (248) 994-0061 [Fax]
                                             dyates@smsm.com econn@smsm.com
                                             sburnstein@smsm.com

                          CERTIFICATE OF SERVICE
       I hereby certify that on May 22, 2018, a copy of the foregoing Notice of
Removal was filed and served electronically via the Court’s electronic filing
system (or, to the extent such service could not be accomplished because the
recipients are not yet registered for electronic service, via first-class U.S. Mail,
postage prepaid) to the following parties and counsel:
             STEVEN A. LEE, ESQ.
             Neumann Law Group
             300 E. Front Street, Ste. 445
             Traverse City, MI 49684




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         Clerk of the Court
         Oakland County Circuit Court
         1200 N. Telegraph Road
         Pontiac, MI 48341


                                 /s/ Kelly Solak




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